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                            UNITED STATES DISTRICT COURT
  12
                          CENTRAL DISTRICT OF CALIFORNIA
  13
                                     SOUTHERN DIVISION
  14
       RENO MAY, an individual;               Case No.: 8:23-cv-01696 CJC (ADSx)
  15   ANTHONY MIRANDA, an individual;
       ERIC HANS, an individual; GARY         DECLARATION OF ANTHONY
  16   BRENNAN, an individual; OSCAR A.       MIRANDA IN SUPPORT OF
       BARRETTO, JR., an individual;          PLAINTIFFS’ MOTION FOR
  17   ISABELLE R. BARRETTO, an               PRELIMINARY INJUNCTION
       individual; BARRY BAHRAMI, an
  18   individual; PETE STEPHENSON, an        42 U.S.C. §§ 1983 & 1988
       individual; ANDREW HARMS, an
  19   individual; JOSE FLORES, an            Hearing Date:     December 4, 2023
       individual; DR. SHELDON HOUGH,         Hearing Time:     1:30 p.m.
  20   DDS, an individual; SECOND             Courtroom:        9B
       AMENDMENT FOUNDATION; GUN              Judge:            Hon. Cormac J. Carney
  21   OWNERS OF AMERICA; GUN
       OWNERS FOUNDATION; GUN
  22   OWNERS OF CALIFORNIA, INC.;
       THE LIBERAL GUN CLUB, INC.; and
  23   CALIFORNIA RIFLE & PISTOL
       ASSOCIATION, INCORPORATED,
  24
                           Plaintiffs,
  25                v.
  26   ROBERT BONTA, in his official
       capacity as Attorney General of the
  27   State of California, and DOES 1-10,
  28                       Defendants.


                           DECLARATION OF ANTHONY MIRANDA
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   1                     DECLARATION OF ANTHONY MIRANDA
   2      1. I, Anthony Miranda, am a plaintiff in the above-entitled action. I make this
   3   declaration of my own personal knowledge and, if called as a witness, I could and
   4   would testify competently to the truth of the matters set forth herein.
   5      2. I am a current resident of Kings County, California.
   6      3. I am a law-abiding adult who is not prohibited from owning firearms under
   7   the laws of the United States of America or the state of California. I have never
   8   been found by any law enforcement agency, any court, or any other government
   9   agency to be irresponsible, unsafe, or negligent with firearms in any manner. I am a
  10   member of the California Rifle & Pistol Association, another plaintiff in this matter.
  11      4. I have a valid and current California concealed carry weapon (“CCW”)
  12   permit issued by the Kings County Sheriff’s Department.
  13      5. I legally carry a concealed firearm with me on a daily basis, so that I may be
  14   armed and be able to defend myself and potentially others in the event of a life-
  15   threatening emergency situation. Prior to SB 2, I only didn’t carry my pistol when
  16   planning on going to one of the few places where carry was not permitted, such as a
  17   school or courthouse, or when I intended to have a drink with dinner.
  18      6. Because SB 2 would prohibit me from carrying in many places where I am
  19   accustomed to concealed carrying a firearm, the utility of my CCW permit, and thus
  20   my right to be armed for self-defense in public, will be outright eliminated in nearly
  21   all common contexts.
  22      7. For example, under SB 2 I cannot carry in any establishment where alcohol is
  23   served, even if I do not intend to drink. That means I cannot conceal carry at most
  24   of the restaurants that I patronize on a regular basis, such as Chili’s, Applebees,
  25   Buffalo Wild Wings, and local establishments such as Figaro’s in Hanford, El
  26   Tarasco in Hanford, and Sal’s in Selma. Nor can I even carry in the parking area of
  27   such establishments. Under SB 2, I also cannot carry at the Hanford mall that I
  28   often visit for shopping and going to movies because it has restaurants that serve
                                                 1
                           DECLARATION OF ANTHONY MIRANDA
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   1   alcohol, making the mall and its parking lot out of bounds under SB 2.
   2      8. Those two provisions of SB 2 are hardly the only two that will impact me. I
   3   can’t carry while I stop at a gas station to fill up my car, because most gas stations
   4   sell lottery tickets inside, making them off-limits for carry. Under SB 2, carry is
   5   also prohibited at urgent care facilities which I have utilized in the past for medical
   6   attention and would use in the future. Carry is also prohibited at financial
   7   institutions such as my local bank that I frequent, and a variety of other places that I
   8   regularly visit.
   9      9. Because SB 2 forbids carry in playgrounds, it restricts me walking around
  10   within the community I live in while carrying, because the community has a
  11   playground in the middle of it. That playground and all streets or sidewalks
  12   adjacent to it are now off-limits. The mailbox I regularly walk to in order to retrieve
  13   my mail, for example, is right across the street from the playground.
  14      10. A major fear of mine in relation to SB 2 however is that it restricts carry in
  15   churches. In recent years, there have been numerous attacks on people of faith at
  16   places of worship. For that reason, prior to SB 2, I always carried at church. SB 2
  17   takes that right away from me, but I know that it will not stop any violent criminals
  18   from carrying unlawfully into my church. SB 2 disarms me and other peaceable
  19   individuals who respect the law, thereby empowering criminals.
  20      11. These are, of course, just a few examples of how SB 2 affects me, and as I
  21   go about my daily life, I am sure to discover several more. SB 2 has essentially
  22   destroyed my constitutional right to carry, as so few of the places I go to on a daily
  23   basis will permit carry, and I don’t want to expose my firearm to theft by constantly
  24   leaving it in my vehicle. But for SB 2 and my fear of criminal prosecution, I would
  25   continue to carry in all of these places as I did before the law took effect.
  26
  27   ///
  28   ///
                                          2
                           DECLARATION OF ANTHONY MIRANDA
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   1         I declare under penalty of perjury that the foregoing is true and correct.
   2   Executed on September 29, 2023.
   3
                                                   ________________________________
   4
                                                   Anthony Miranda, declarant
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                          DECLARATION OF ANTHONY MIRANDA
Case 8:23-cv-01696-CJC-ADS Document 13-4 Filed 09/29/23 Page 5 of 5 Page ID #:142


   1
                               CERTIFICATE OF SERVICE
   2                     IN THE UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
   3
       Case Name: May, et al. v. Bonta
   4   Case No.: 8:23-cv-01696 CJC (ADSx)
   5
       IT IS HEREBY CERTIFIED THAT:
   6
              I, the undersigned, am a citizen of the United States and am at least eighteen
   7   years of age. My business address is 180 East Ocean Boulevard, Suite 200, Long
   8   Beach, California 90802.

   9          I am not a party to the above-entitled action. I have caused service of:
  10   DECLARATION OF ANTHONY MIRANDA IN SUPPORT OF
       PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
  11
  12   on the following party by electronically filing the foregoing with the Clerk of the
       District Court using its ECF System, which electronically notifies them.
  13
       Robert L. Meyerhoff, Deputy Attorney General
  14   California Department of Justice
  15   300 South Spring Street, Suite 1702
       Los Angeles, CA 90013
  16   Email: Robert.Meyerhoff@doj.ca.gov
             Attorney for Defendant
  17
              I declare under penalty of perjury that the foregoing is true and correct.
  18
  19   Executed September 29, 2023.
  20
                                                     Laura Palmerin
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                                   CERTIFICATE OF SERVICE
